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 4                               UNITED STATES DISTRICT COURT

 5                                       DISTRICT OF NEVADA

 6   UNITED STATES OF AMERICA,                          )
                                                        )
 7                          Plaintiff,                  )
                                                        )
 8          v.                                          )           2:10-CR-494-GMN (GWF)
                                                        )
 9   MAURICIO LOPEZ,                                    )
                                                        )
10                          Defendant.                  )

11                                       ORDER OF FORFEITURE

12         On March 5, 2012, defendant MAURICIO LOPEZ pled guilty to a Superseding Information

13   charging him with Conspiracy to Commit Bank Fraud, in violation of Title 18, United States Code,

14   Section 1349, and agreed to the forfeiture of property set forth in the Forfeiture Allegations in the

15   Superseding Information and the Plea Agreement. Docket #48, #51.

16         This Court finds that MAURICIO LOPEZ shall pay a criminal forfeiture money judgment of

17   $206,522.90 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

18   P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

19   Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A).

20         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

21   States recover from MAURICIO LOPEZ a criminal forfeiture money judgment in the amount of

22   $206,522.90 in United States Currency.

23         DATED  this______
           DATED this  7th dayday
                                ofofMarch, 2012.
                                     __________________, 2012.

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25                                                 ________________________________
                                                   Gloria M.
                                                  UNITED     Navarro
                                                          STATES  DISTRICT JUDGE
26                                                 United States District Judge
